
75 N.J. 459 (1978)
383 A.2d 428
MICHAEL LEHRHAUPT, INDIVIDUALLY AND AS CHAIRMAN OF THE MADISON TOWNSHIP ZONING BOARD OF ADJUSTMENT, DOUGLAS H. REED, INDIVIDUALLY AND AS VICE CHAIRMAN OF THE MADISON TOWNSHIP ZONING BOARD OF ADJUSTMENT, FRANCIS M. CLARK, INDIVIDUALLY AND AS SECRETARY OF THE MADISON TOWNSHIP ZONING BOARD OF ADJUSTMENT, LOUIS LA PLACA, INDIVIDUALLY AND AS A MEMBER OF THE MADISON TOWNSHIP ZONING BOARD OF ADJUSTMENT, GERALD C. KELLY, INDIVIDUALLY AND AS ATTORNEY FOR THE MADISON TOWNSHIP ZONING BOARD OF ADJUSTMENT, LINDA CHORORUS, INDIVIDUALLY AND AS A CLASS IV MEMBER OF THE MADISON TOWNSHIP PLANNING BOARD, JEAN R. MONIFF, INDIVIDUALLY AND AS A CLASS IV MEMBER OF THE MADISON TOWNSHIP PLANNING BOARD, AND RICHARD F. ZIPP, INDIVIDUALLY AND AS A CLASS IV MEMBER OF THE MADISON TOWNSHIP PLANNING BOARD, PLAINTIFFS-APPELLANTS,
v.
THE HONORABLE WILLIAM FLYNN, MAYOR, AND THE TOWNSHIP COUNCIL OF THE TOWNSHIP OF MADISON, DEFENDANTS-RESPONDENTS.
The Supreme Court of New Jersey.
Argued November 28, 1977.
Decided March 8, 1978.
*460 Mr. Gerald C. Kelly argued the cause for appellants (Messrs. Hooley, Perselay, Butler and Kelly, attorneys).
Mr. Louis J. Alfonso argued the cause for respondents.
PER CURIAM.
The judgment is affirmed substantially for the reasons expressed in the opinion of the Appellate Division, 140 N.J. Super. 250.
For affirmance  Chief Justice HUGHES and Justices MOUNTAIN, SULLIVAN, PASHMAN, CLIFFORD, SCHREIBER and HANDLER  7.
For reversal  None.
